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EXHIBIT 14
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GDS & INVESTMENT (FZE)

P.O.BOX 122928, SHARJAH — U.A.E
MOB: 050 627 3035

AGREEMENT FOR THE RETENTION OF CONSULTANCY FIRM

This Agreement is made on this 1* day of December, 2012;

GDS & Investment (FZE) P.O.Box 122928, Sharjah, U.A.E (herein after referred to as “First
Party”) on the one part.

And

Ras Al Khaimah Free Trade Zone Authority, having its administrative office at Business Park,
P.O, Box: 10055, Ras Al Khaimah, U.A.E, represented by the Chairman H.H.Sh. Faisal Bin Sagr Al
Quassimi (herein after referred ta as “Second Party") on the other part

Preamble

WHEREAS, First Party is a research based firm, specialized in providing full range of advisory /
consultancy for strategic development, investment generation, policy reformation and capacity
building services for provincial investment promotion & export development agencies.

WHEREAS, Second Party is a bady corporate formed pursuant to the emiri decree dated
01/05/2000 by H. H. Sheikh Saqr Bin Mohammed Bin Salem Al Qasimi, Ruler of the Emirate of Ras
Al Khaimah, UAE for attracting and facilitating investors and Investment projects in the Emirate of
Ras Al Khaimah

WHEREAS, Second Party is desirous of availing First Party services with a view to enhance its
corporate performance, commercial viability and develop competitiveness. The required services
are outlined in the scope of work of this Consulting Agreement.

NOW, THEREFORE, in consideration of the mutual covenants and on the terms and conditions

stated herein and for other good and valuable consideration the sufficiency of which is hereby
acknowledged by the parties hereto, it is agreed between the parties as follaws:

ARTICLE 1
ENGAGEMENT OF SERVICES

a) The Second Party shall retain the First Party as a consultant for the services mentioned
below in the scope of work;

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5) First Party will accept such retention, commencing as of the effective date of this agreement

and continuing through a period of 1 year or until termination of this agreement as proviced
below;

The First Party shall have the right to obtain all the required and necessary supports from
the Second Party. This support should include, but not limited to, secretarial, marketing,
contracts, administrative, logistic and any other necessitles.

ARTICLE 2

SCOPE OF WORK

i}

iii)

The Scope of Work shall be as follows;

a. To provide in house advisory and implementation support to the Ras Al Khaimah Free
Zone Authority chairman for the nationally & internationally Investment projects
(FZ/EPZ/Special Investment Parks) in establishment and management assignment
which includes, but not limited to, Developments, Marketing strategies, Planning’s,
Procedures, Operations, Lega!, Compliance, Projects, Services, Customers and other
required tasks the authority might request.

b. Reporting directly to Chairman in advising activities for the purpose of implementing
comprehensive execution phase for all assigned (FZ/EPZ/Special Investment Parks)
prajects and submitting progress reports to the Chairman.

c. Strategic support to all Projects Marketing, with development of technical, legal,
financial, and commercial support.

d. Provide Ras Al Khaimah Free Zone’s Chairman with comprehensive business proposal
packages to use, in order to improve / datermine the commercial viability of all
nationally & international!y Parks projects which are in stage of establishment.

e. Identify key high demand services sectors and other potential investments and
industries for.

f. Support Ras Al Khaimah Free Zone with subsequent investment decisions.

g. Support improving Res A! Khaimah Free Zone administration, management,
marketing, compliance, legal, engineering and all or any concerned department and
its structure,

h. To do and undertake any related jobs as required by the Second Party.

The First Party shall use its best endeavors to provide the services in a professional manner
and in accordance with concerned standard industry practice and shall take all steps
required to ensure the deliverables to be suitable for the purpose intended, according to
such standards. The First Party shall exercise all the skill, care and diligence in the discharge
of the duties, agreed to be performed, First Party shall perform all such duties which are
reasonably ancillary to the scope of work.

First Party shall, at all reasonable times, be available at the premises of the Second Party in
RAK, without additional costs, for any presentations, clarifications or discussions as required
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by the Second Party during the term and within a period of 2 months from the expiry of the
term, provided all the expenses related to the travel and stay are provided by the Second

Party as per its policies.

ARTICLE 3

COMMENCEMENT

This Agreement shall be deemed to commence with effect from 1" day of December, 2012
("Commencement Date") for a period of 12 manths (the term) and automatically renewed uniess
otherwise terminated by either party.

ARTICLE 4

COMPENSATION & EXPEMSES

a.

In consideration of the First Party's Services the Second Party shal! pay a lump sum
fee of AED: 130,000/- per month. The mode of payments is more particularly
described in schedule I attached here with.

The First Party will be entitled to receive additional daily performing expense
payments which will be amounting tc total lump sump of US Dollar ($) 500/daily

If the First Party is required to travel out of UAE In connection with the Services, the
Second Party will pay to the First Party a lump sump of US Dollar ($) 1,500/- per day
for travelling expenses in addition to the Fist Class Flight Ticket.

The Second Party shal! provide lodging and a driver to the First Party during the
Term.

Second Party snall be responsible for the administrative and logistic costs referenced
in Article 1 c) above.

ARTICLE 5

INTELLECTUAL PROPERTY RIGHTS

a) All copyrights and/cr design rights in any work created in the course of or under this
Agreement shall belong to First Party.

b) For the avoidance of doubt Second Party acquires no rights to any copyright, design rights,
moral right, patents or similar intellectual property rights arising in the course of the First
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party's work under this agreement or any related appointments between the parties held
from time to time.

ARTICLE 6

CONFIDENTIALITY
a) During the term of this Agreement and any subsequent extension, and for a period of two
years thereafter, First Party shall net disclose confidential information related to the scope
of work to ethers without the prior written consent from the Second Party;
b) All right, title, and interest in confidential information, including that arising from the
consulting services shall belong to the First Party, and upon expiration or termination of this

Agreement, ali tangible forms of confidential information, including copies thereof, prepared
by First Party, will be dellvered to the First Party.

ARTICLE 7
ACKNOWLEDGEMENT AND ASSIGNMENT

@) It is agreed that this Agreement shali ensure for the benefit of and be enforceable by the
First Party and its successors in title.

b) This Agreement is not assignable by either party without the prior written approval of the
other,

c) The Second Party will provide exclusive secretarial supports and assistance and any RAK
FIZ supports required in order to accomplish the assignments.

ARTICLE 8
AMENDMENTS

Changes, amendments and supplements to this Agreement must be made in writing and signed by
the parties.

ARTICLE 9
GOVERNING LAW

a) This Agreement shall be governed by the relevant laws and provisions of commercial laws of
the United Arab Emirates.
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b) By the execution of this agreement the parties hareby irrevocably agree to submit to the
exclusive jurisdiction of the Ras Al Khaimah Courts.

ARTICLE 10

TERMINATION

a) Neither party is in breach of any provision of this Agreement, the non-breaching party may
in writing give the allegedly breaching party written notice to cure or remedy such breach
within 30 days of receipt of such written notice. If the allegedly breaching party has not
cured or remedied the alleged breach within that period, then this Agreement may be
terminated immediately forthwith upon further written notice.

ARTICLE 12

PRE-EXISTING AGREEMENTS

a) This Agreement supersedes and replaces any previous contracts or agreements between the
parties, which shal! be of no further force or effect.

b) This Agreement is subject to the understanding that the First Party is contracted to and
affiliated with various organizations and other companies and may from time to time
become contracted to and affiliated with other similar organizations and other companies.

ARTICLE 12

NOTICE

Any notices, communications or demands given to either party shall be in writing and in the English
language and send either by fax, mail or electronic formats to the above address.

ARTICLE 13

FORCE MAJEURE

If either party shall be prevented from performing any portion of this Agreement (except the
payment of money) by causes beyond its control, including labour disputes, civil commotion, war,
governmental regulations or controls, casualty, inability to obtain materials or services or acts of
Gad, such defaulting party shall be excused from performance far the period of the delay and for a
reasonable time thereafter. The parties shall use their best efforts under the circumstances to
avoid and remove such causes af nan-performance and shall proceed to perform with reasonable
dispatch whenever such causes are removed or cease.
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ARTICLE 14

JURISDICTION AND GOVERNING LAW

a. The Agreement and any claim, action, suit, proceeding or dispute arising out of the
Agreement shall in all respects be governed by, and interpreted in accordance with the
substantive ‘aws of UAE. Venue for any actions arising under this Agreement shall vest
exclusively in the courts of general jurisdiction of appropriate jurisdiction in UAE.

b, This Agreement and the rights of the Parties hereunder shall be governed by the laws of Ras
Al Khaimah Free Trade Zone.

c. The Second Party, being a government body, shall relinquish any statutory immunity.

ARTICLE 15
DISPUTE RESOLUTION

a. If any dispute connected with the formation, performance, interpretation,
nullification, termination or invalidation of this Agreement (“Dispute”) is not
resolved by the Parties, the Parties shall within thirty (30) days of written notice
from one Party to the other Party (a “Dispute Notice”) hold a meeting to try and
resolve the Dispute ("Dispute Meeting”).

b. In the event that a Dispute is not resolved amicably within forty five (45) Business
Days of the service of the Dispute Notice, whether or not a Dispute Meeting has been
held, either Party may refer the Dispute to arbitration. For the purpose of any
arbitration proceedings commenced pursuant to this clause:

i. the number of arbitrators shall be three;

ii. the arbitration shall take place at Dubai Internationa! Arbitration Centre
(DIAC) Dubai; and

iii. the language to be used in the arbitral proceedings shall be English.
c. Each of the Parties hereby agree that:

i. they will submit to the non-exclusive jurisdiction of the courts of Ras Al
Khaimah for the purposes of ratifying any award made pursuant to arbitration
proceedings conducted in accordance with the clause above.

ii, it will not challenge any arbitral award made pursuant to arbitration
proceedings; and

iii, it will not object to or challenge any application to enforce any arbitral award
in any court and it will submit to the jurisdiction of that court for the purposes
of those enforcement proceedings.

ARTICLE 16

GENERAL CLAUSE
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(a) Parties to this contract intend that the relation between them created by this Agreement
will result in First Party being considered an independent consultant. No agent, employee or
servant relationship is created between the parties by way of this agreement.

(b) Each party agrees to indemnify the other and hold the other harmless, for any and all
actions, regardless of the nature, description or type associated to this agreement.

(c) This agreement is made in two counterparts, one for each party.

(d) This agreement has been negotiated and drafted in the English language. In the event of
an Arabic translation being prepared for the purposes of any dispute resolution, litigation or
other formal process, the English text shall prevail and be conclusive in any questions as to
the meaning or interpretation thereof.

(e) Headings. The headings, titles and subtitles used in this Agreement are for ease of
reference only and shall not control or affect the meaning or construction of any provision
hereof,

(f) This Agreement has been read by the above mentioned parties and they have understood
its texts, terms and conditions and accepted it and accordingly they signed.

IN WITNESS WHEREOF, the parties have executed this Agreement as of the date first written

above.
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First Party:

 

GDS & Investment FZE: .....ccesceneneroreacse cnenses
Sharjah Saif Zone ,
P.O.Box 122928

Represented by Senior advisor

Oussama El Omari

    
 

“/ P.O.Box: 127928 \"
Sharjah - UAE.

Second Party: —_—~ a,

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Ras Al Khaimah Free Trade Zone Authority
Represented by its Chairman
H.H. Sh.Faisal Bin Sagr Al Quassimi
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Schedule I

Mode of payments

. The lump sum fee for the services shall be AED: 130,000 only/- per month;

. The payment shall be made to First Party’s bank account on or before the last working day
of every month.

The First payment shall be on December 30,2012
